This action was instituted by the plaintiff for the recovery of damages for the death of her husband.
At the close of all the evidence, the court directed a verdict for the defendant and against the plaintiff. *Page 211 
The facts, though somewhat lengthy, are not complicated and are in no sense in dispute. The ultimate question in the case is whether or not actionable wrong or negligence properly chargeable to the defendant corporation is established.
A careful consideration of the record before us and the contention of the appellant fail to disclose any actionable wrong or negligence properly chargeable to the defendant. The ruling of the trial court in directing a verdict for the defendant was entirely correct. We have carefully reviewed the assignments of error and the authorities cited by appellant and respondent, and conclude that the appeal is without merit.
The judgment and order appealed from are affirmed.
All the Judges concur.